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 Tami Gadd (12517)
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF UTAH
                                        CENTRAL DIVISION


       In re:                                                      Case No. 20-24404
           CHRISTOPHER PROCTOR                                     Chapter 13
                                                                   Hon. Joel T. Marker
       Debtor.                                                     (Confirmation Hearing: 11/24/20 at 10:00 AM)

                          ORDER CONFIRMING DEBTOR'S CHAPTER 13 PLAN


            After notice to all parties in interest, and based on the Trustee’s recommendation for
 confirmation, the Court finds that the Plan meets the requirements of 11 U.S.C. §§ 13221 and 1325
 and hereby ORDERS AS FOLLOWS:
                                        CONFIRMATION OF THE PLAN
            1.       The proposed Chapter 13 plan, as modified by this Order, is confirmed pursuant to
 § 1325 (hereinafter the “Plan”). Upon the entry of this Order, the effective date of confirmation
 shall relate back to the date of the confirmation hearing.


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     Unless otherwise stated, all statutory references are to 11 U.S.C. § ___.
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               2.           Confirmation is not a binding determination that the Plan complies with the 36 to
 60-month term limits of § 1322(d). If at any time the Trustee determines that the Plan is not
 feasible because its term is greater than 60 months, the Trustee may serve a Notice of Non-
 Compliance on the Debtor and Debtor's counsel. The Debtor will have 30 days from the service
 of such notice to file either an objection to claims or a motion to modify under § 1329 to bring the
 Plan into compliance with § 1322(d). If the issue is not resolved within such 30-day period, the
 Trustee may file a motion to dismiss or to convert.
                                              REQUIRED DOCUMENTS
               3.           The Debtor shall provide the following documents by the deadlines set forth below,
 or this case may be dismissed without further notice or hearing:
                            a. On or before December 08, 2020, the Debtor shall file with the Court and serve
               on the Trustee an amended budget.
                            b. On or before December 08, 2020, the Debtor shall file with the Court and serve
               on the Trustee a change of address or provide a statement regarding the address and the
               rental payment status.
                             RETURN TO NONPRIORITY UNSECURED CREDITORS
               4. The Plan shall return to nonpriority unsecured creditors the greater of the return
 provided for below or the pro rata distribution, if any, resulting from the minimum “Plan Base”
 calculated as follows: Plan Payments multiplied by the Applicable Commitment Period (36 or 60
 months as stated in Part 8.1 of the Plan) plus all required contributions of tax refunds and other
 lump sum Plan contributions.
               5. The Debtor shall make the payments described below until no less than $1,845.00 is
 disbursed pro rata on allowed nonpriority unsecured creditors pursuant to § 1325(b)(1)(B), not to
 exceed 100% of the total allowed amount of such claims.
                                      APPLICABLE COMMITMENT PERIOD
               6. As designated in Part 8.1 of the Plan this is a below-median case with an Applicable
 Commitment Period of 36 months, commencing with the first-scheduled meeting of creditors
 under § 341. Pursuant to § 1325(b), the Debtors must make no less than 36 payments to the Plan




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 in the amounts set forth below and may be extended as necessary to make payments on the
 provided for claims, but may not exceed 60 months.
                       REQUIRED PAYMENTS AND CONTRIBUTIONS TO THE PLAN
               7. Plan Payments: By the 25th day of each month, the Debtor shall make the required Plan
 payment to the Trustee of $200.00 (hereinafter the “Plan Payments”).
                            a. Contribution to the Plan of Tax Refunds Over the Applicable Commitment
               Period. In addition to the monthly Plan Payments required above, the Debtors shall also
               pay into the Plan the total amount of yearly state and federal tax refunds that in the
               aggregate exceed $1,000. If such tax refund includes amounts from the Earned Income
               Tax Credit (EITC) and/or the Additional Child Tax Credit (ACTC), Debtors may retain up
               to a maximum of $2,000 of the tax refund based on the following formula: the first $1,000
               as provided above, plus the combined amount of the EIC and ACTC up to an additional
               $1,000 (maximum retained tax refund cannot exceed $2,000) (hereinafter “Tax Refunds”).
               However, the Debtors are not obligated to pay into the Plan tax refunds that have been
               properly offset by a taxing authority and must provide evidence of such offset (tax
               transcript, letter from taxing entity indicating the offset amount – bank statements or
               screenshots of the taxing authority website is not sufficient). This requirement applies to
               all tax refunds that the Debtors are entitled to receive during the three-year period starting
               with the petition date (e.g., tax returns for tax years 2020 through 2022), subject to the
               following conditions:
                                   (1)     Pursuant to § 521(f)(1), the Debtor shall provide the Trustee with
                            copies of the first two pages of the Debtor's state and federal tax returns, with such
                            copies to be provided on or before April 30th of each year that falls within this
                            three-year period. Failure to comply with this deadline will result in the Trustee
                            filing a Motion to Dismiss.
                                   (2)     The required Tax Refund contribution, as calculated above, shall be
                            paid into the Plan not later than June 30th of each year. Failure to comply with this
                            deadline will result in the Trustee filing a Motion to Dismiss.




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                                   (3)     Tax Refunds paid into the Plan may reduce the overall Plan term if
                            it is greater than thirty-six (36) months, but in no event shall the amount paid into
                            the Plan be less than thirty-six (36) Plan payments plus all Tax Refunds required to
                            be paid into the Plan pursuant to the terms set forth above.
                                   (4)     If, after the completion of the Claims Review Process, the return to
                            nonpriority unsecured creditors as set forth herein is the equivalent of a 100% return
                            to such creditors, then the Trustee will have the discretion to issue a letter excusing
                            the Debtor from compliance with this section of the confirmation order.
               8. If during the term of the Plan the Debtor(s) file or amend tax returns for a prepetition
 tax year, the Debtor must provide the Trustee with the first two (2) pages of the federal and state
 tax returns within fourteen (14) days of their filing with the applicable taxing authority.
 Furthermore, any Tax Refunds must be paid to the Trustee within 7 days of the Debtor's receipt of
 the tax refund.
               9. Within 30 days after receipt of the tax returns, the Trustee will calculate whether the
 best-interest-of-creditors test of § 1325(a)(4) requires a greater return to unsecured creditors and
 inform the Debtor and Debtor's counsel if the Plan must be modified. The Debtor will then have
 thirty (30) days to file a motion to modify the Plan to provide for the return required by §
 1325(a)(4). Where possible, the Trustee will work with Debtor(s)’ counsel to submit a stipulated
 order modifying the Plan. If the Debtor(s) fails to file such a motion to modify, the Trustee will
 move for dismissal.
               10. All Plan Payments, Tax Refunds, or other monetary contributions made by the Debtor
 to the Plan are hereinafter referred to as the “Plan Contributions.”
                                CLASSIFICATION AND TREATMENT OF CLAIMS
               11. Trustee Fee. The Trustee is allowed the commission authorized by 28 U.S.C. §
 586. Any reference in the Plan to the percentage of such commission is an estimate only, and the
 Trustee’s commission on each receipt will be in the amount fixed by the United States Attorney
 as of the date the trustee posts the receipt of the Plan Payment to the case.
               12. Attorney’s Fees: Debtor's counsel is awarded fees and costs in the total amount of
 $3,750.00 as an administrative claim under § 503(b). Pursuant to the Bankruptcy Rule 2016



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 Statement filed in this case, counsel received a prepetition retainer of $500.00; therefore, the
 balance of $3,250.00 will be paid through the Plan. This allowance of fees includes time for
 counsel to comply with the requirements of the Claims Review Process, as set forth below, but it
 does not limit counsel’s option to seek additional fees after notice and a hearing on a fee application
 filed with the Court.
               13. Adequate Protection Payments: Adequate protection payments under § 1326(a)(1)(C),
 are allowed as provided for in Local Rule 2083-1(d) designated in Part 8.1 and the Notice of
 Adequate Protection Payments (Local Form 2083-1-C).
               14. Secured Claims: If a secured claim is provided for in the Plan, The Trustee shall
 disburse on secured claims only if all requirements under Local Rule 2083-2(c)(1) are met. All
 disbursements are subject to the Trustee having received monthly Plan Contributions. If the Plan
 provides for a secured claim, but such creditor files an unsecured claim, and such unsecured claim
 is deemed allowed under § 502(a) as of the completion of the Claim’s Review Process (see below),
 the Trustee shall at that time administer such claim as a nonpriority unsecured claim pursuant to
 the terms of the Plan.
               15. Mortgage Arrearage Claims.
                            a. If a proof of claim is filed asserting a mortgage arrearage, but such claim is not
               provided for in the confirmed Plan, the Trustee will set up a reserve claim consistent with
               the proof of claim. The Plan must be modified under § 1329 to provide for the payment of
               the arrearage claim no later than 30 days after the filing of the Trustee’s Report of Claims,
               or the Trustee will remove the reserve claim and no disbursements will be made on the
               filed arrearage claim. If the Plan is timely modified to authorize payment of the mortgage
               arrearage claim, the Trustee will disburse on such claim pursuant to the creditor name and
               address and the amount of the arrearage in the proof of claim.
                            b. The Trustee will cease any disbursements on a mortgage arrearage claim when
               an objection is filed to such proof of claim. The Trustee will likewise modify
               disbursements on a mortgage arrearage claim provided for in the Plan if such proof of claim
               is amended otherwise modified by Court order.




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                            c. The Debtors shall maintain current contractual installment payments directly to
               mortgage creditors beginning with the first payment due after the petition date.
                            d. Post-petition mortgage payments will be made by the Debtor directly.
               16. Secured Tax Claims: Any allowed secured tax claim filed by a governmental unit shall
 be paid the secured amount as set forth on the proof of claim, unless there is a determination of the
 amount of a secured claim under Federal Rule of Bankruptcy Procedure 3012(c). Secured claims
 of governmental entities will be paid pursuant to Local Rule 2083-2(d). Nothing in this paragraph
 shall prohibit the Debtors from filing a timely objection to a deemed-allowed secured tax claim,
 or prohibit a governmental unit from amending its secured tax claim.
               17. Rulings on Secured Claims. The Court hereby makes the following rulings on secured
 claims provided for by the Plan.
                            a.   Secured Claim of TitleMax of Utah, Inc. – Court Claim No. 2 and its
               amendments. The Plan provides for the valuation of the collateral securing this claim. The
               collateral is valued at $10,000.00 and the resulting secured claim will accrue interest at the
               rate of 5% per annum. The Trustee will set up a reserve, secured claim based on these
               figures, and after an allowed proof of claim is filed, the Trustee will disburse on such
               secured claim pursuant to the above-stated rulings on value and interest rate. The
               unsecured balance of such claim will be fixed based on any filed and allowed proof of
               claim or by subsequent order of the Court.
               18. Executory Contracts and Unexpired Leases:                The Debtors will directly make
 postpetition lease or contract payments to creditors specifically identified under Part 6 of the Plan
 as assumed under § 365 pursuant to the conditions in Local Rule 2083-2(n).
               19. Domestic Support Obligations:           Allowed, unsecured domestic support obligation
 claims entitled to priority under § 507(a)(1)(A) and (B) shall be paid in full or an amount as
 determined by separate motion under Federal Rule of Bankruptcy Procedure 3012(b).
               20. Tax Claims:
                            a. If any additional tax liability is determined to be due after confirmation of the
               Plan, the Debtor may elect to modify the Plan under § 1329 to include payment of such
               liability.



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               21. Nondischargeable Student Loan Claims. Allowed claims for student loan obligations
 shall be treated as nonpriority unsecured claims. To the extent such claims are nondischargeable
 under 11 U.S.C. §§ 1328(a)(2) and 523(a)(8), the Debtor shall remain liable on such claims after
 completion of the Plan.
               22. Conditions for Disbursements on Unsecured Claims.               Disbursements on allowed
 priority and nonpriority unsecured claims may commence after the Claims Review and Trustee’s
 Report of Claims process found in Local Rule 2083-1(l) is complete and funds are available for
 the Trustee to make a distribution.
                                     DISTRIBUTIONS ON ALLOWED CLAIMS
               23. The Trustee will disburse all contributions to the Plan, including Plan Payments and
 Tax Refunds, pursuant to the following levels and priority of distribution found in Local Rule
 2083-2(e):
                            a. Administrative Provisions Regarding Adequate Protection And Equal Monthly
               Plan Payments:
                                   (1)     If monthly Adequate Protection Payments or Equal Monthly
                            Payments (LR 2083-2(e) Class 1) are specified on a claim, all accrued payments
                            must be current through the date of distribution before the Trustee may disburse to
                            a junior class, but Class 1 claims need not be paid in full prior to a junior class
                            receiving a distribution. After payment of allowed attorney’s fees, the Trustee may,
                            but is not required to, disburse to holders of Class 1 claims amounts greater than
                            such designated payments to facilitate the prompt administration of the case.
                                   (2)     To the extent there are insufficient funds to make the required
                            Adequate Protection or Equal Monthly Payments to all creditors, the Trustee may
                            make a pro-rata distribution to such class. Unpaid portions of Adequate Protection
                            or Equal Monthly Payments from a prior month will first be brought current before
                            disbursements are made to lower classes, and Adequate Protection Payments will
                            be brought current before disbursements are made on Equal Monthly Payments.
                                   (3)     If no monthly payments are specified on a claim, payments will be
                            paid pro rata within the designated class.



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                                       CLAIMS REVIEW PROCESS
               24. Claims Review Process. Within 60 days following the expiration of the bar date for
 governmental units to file claims under Bankruptcy Rule 3002(c)(1), the Debtor shall file with the
 Court and serve on the Trustee a declaration that all claims have been reviewed and that any
 appropriate objections have been filed and noticed for a hearing.
               25. Trustee’s Report of Claims. Within approximately 120 days following the expiration
 of the Governmental Bar Date, or at such time as all claim issues are resolved, the Trustee shall
 file and serve on all parties-in-interest a Trustee’s Report of Claims (“TROC”) that will include a
 list of claims filed in the case, the amount of such claims, and their treatment under the confirmed
 Plan (e.g., secured, priority, allowed, disallowed, etc.). If no objection is filed to the TROC within
 21 days after service thereof, it shall be deemed final and incorporated into this Order. If a written
 objection to the TROC or an objection to a claim is filed within such 21-day period, the Trustee
 will file and serve an Amended Trustee’s Report of Claims within 30 days after resolution of the
 objections or motions. Any such written objection to the TROC must be noticed for a hearing to
 be held within 30 days after its filing. If no written objection to the Amended Trustee’s Report of
 Claims is filed within 21 days after service, it shall be deemed final and will be incorporated into
 the confirmation order.
               26. Untimely Claims. Unless otherwise ordered by the Court, the Trustee will not disburse
 on any claim that is filed after the applicable deadline of Bankruptcy Rule 3002.
                                    ADMINISTRATIVE PROVISIONS
               27. If the Trustee has filed an objection to an exemption claimed on Schedule C, and such
 exemption is not specifically ruled on by the Court in connection with confirmation of the Plan,
 then the Trustee’s objection shall remain pending, including for purposes of any motion to modify
 under § 1329 or in connection with any conversion to another Chapter under the Bankruptcy Code.
               28. The Trustee is granted authority to set procedures for making disbursements under the
 Plan. Such disbursements shall be made in a manner consistent with the Bankruptcy Code, the
 Federal Rules of Bankruptcy Procedure and the Trustee’s Report of Claims as incorporated into
 this Order pursuant the provisions set forth above.




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               29. If this case is dismissed, any Plan Contributions received by the Trustee prior to the
 entry of an order of dismissal shall be paid to creditors pursuant to the Plan, while payments
 received after the entry of such order shall be refunded to the Debtor. In making any final
 disbursement under this paragraph, the Trustee is hereby authorized to decline to disburse funds
 on any unsettled, contingent, disputed, duplicate, unliquidated, late-filed or otherwise legally
 insufficient claim, including where a disbursement check on a claim has been returned to the
 Trustee as undeliverable by the United States Mail.
               30. In the event an error is made in disbursements to creditors, the Trustee may, without
 prior notice to parties-in-interest, rectify such errors by any legal means including offsets and
 surcharges against future disbursements in this case owing to the creditor who received the
 erroneous disbursement.
               31. During the term of the Plan, the Debtors shall not sell or transfer any property of the
 estate whether the collateral is provided for in the Plan without a Court order under § 363 and prior
 written notice to the Trustee. A creditor shall not accept any insurance or sale proceeds from
 collateral provided for in the Plan unless an amended proof of claim is filed with the Court and
 prior written notice thereof is provided to the Trustee. If the Plan provides that the Trustee will
 make disbursements on a specific claim, and that claim is paid from another source, the Trustee
 shall nonetheless be entitled to the statutory commission on such amount as would have been
 received by the Trustee under the Plan. At confirmation, property of the estate vests pursuant to
 the terms of the Plan and § 1327.
               32. During the term of the Plan, the Debtor shall not incur any new material debt without
 a Court order under § 364.
               33. If after confirmation of the Plan, a creditor amends its timely, allowed proof of claim,
 the Trustee shall give notice to counsel whether such amended proof of claim, if allowed, causes
 the Plan to be unfeasible. If the amended claim does not render the Plan unfeasible, and if the
 Trustee does not receive an objection from Debtor's counsel within ten (10) days after service of
 such notice, the Trustee shall pay such claim in the amended amount. If the amended claim renders
 the Plan unfeasible, the Trustee may move to dismiss the case or to modify the Plan.




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               34. The Trustee is hereby authorized to exercise discretion in administering this case
 including, but not limited to, out-of-court resolutions of postconfirmation defaults arising from the
 Debtor's failure to make timely Plan Contributions.
                                             END OF DOCUMENT

                                           CERTIFICATE OF SERVICE

               The undersigned hereby certifies that a true and correct copy of the foregoing Order
 Confirming Chapter 13 Plan was served upon all persons entitled to receive notice in this case via
 ECF notification or by U.S. Mail to the following parties on December 15, 2020.

                                     JUSTIN O. BURTON
                                     ECF NOTIFICATION

                                                                Lindsay McQuade /s/
                                                               Office of the Chapter 13 Trustee



                                 DESIGNATION OF PARTIES TO BE SERVED


                      All parties listed on the mailing matrix or as otherwise ordered by the Court




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